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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA

Alexandria Division

 

UNITED STATES OF AMERICA
V. 5 Case No. 1:23-mj-32
JAMES GORDON MEEK
Defendant.
)
ORDER

 

This matter comes before the Court on Defendant’s Emergency Motion to Vacate Stay of
Release Order (“Motion to Vacate”) (Dkt. No. 18). As set forth in the Court’s February 2, 2023
Stay Order (Dkt. No. 17), Defendant is charged in a Criminal Complaint with one count of
transporting child pornography in violation of 18 U.S.C. § 2252(a)(1). On February 1, 2023, the
undersigned conducted Rule 5 Initial Appearance proceedings in the matter. At the Initial
Appearance, both the Government and counsel for Defendant stated that they were prepared to
also conduct a hearing on the Government’s request that Defendant be detained pending trial.
Thus, the undersigned held a detention hearing pursuant to 18 U.S.C. § 3142, during which both
sides presented evidence and argument. Following the conclusion of the parties’ evidence and
argument, and after a brief recess to consider all evidence and arguments presented, the Court
ordered that Defendant be released subject to numerous conditions and further ordered that

Defendant be detained until the conditions were met. (Dkt. No. 16.) At the conclusion of the

 

' Pursuant to 18 U.S.C. § 3142(f)(2)(B), the Government could have sought to delay the
detention hearing for up to three days, during which time Defendant would have been detained.
The Government did not request a delay.
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hearing, the undersigned granted the Government’s request to stay the Order Setting Conditions
of Release pending the Government’s appeal of that order to the district judge, and subsequently
issued a written Stay Order (Dkt. No. 17). Defendant now moves the Court to vacate the Stay
Order, asserting there is no statutory basis supporting a stay of a pretrial release order. (See Mot.
Vacate 2.) On February 3, 2023, the Government filed a brief in opposition to Defendant’s Motion
to Vacate (Dkt. No. 23). Upon review of Defendant’s motion and the Government’s opposition,
the undersigned finds as follows.

There is ample authority—including within this District and other courts within the Fourth
Circuit—establishing that magistrate judges have authority to stay a release order pending review
by the district court under 18 U.S.C. § 3145(a). See, e.g., United States v. Richardson, No. 4:17-
CR-77, 2020 WL 6471201, at *1 (E.D. Va. Nov. 3, 2020) (magistrate judge stayed release order
pending district court review)’; United States v. Hroub, No. 5:20-CR-00250-M-2, 2020 WL
3805168, at *1 (E.D.N.C. July 7, 2020) (same); United States v. Petersen, 557 F. Supp. 2d 1124,
1129-30 (E.D. Cal. 2008) (holding magistrate judge had authority to stay release order under
18 U.S.C. § 3142(f) permitting detention “‘pending completion of the [detention] hearing,’ which
reasonably includes a limited period for prompt review of the magistrate’s release order under
subsection 3145(a)” (quoting § 3142(f)(2)(B))); see also United States v. Brigham, 569 F.3d 220,
230 (Sth Cir. 2009) (collecting cases staying pre-trial release orders pending review of magistrate
judge’s decision). That is in part because “the absence of stay authority could render the district
court’s review power illusory.” Brigham, 569 F.3d at 230. Moreover, because the District Court

will promptly review the undersigned’s Order Setting Conditions of Release (a hearing is currently

 

* See Order, United States v. Richardson, Case No. 4:17cr77 (Dkt. No. 20) (staying release order,
noting it “is well established that magistrate judges have authority to stay their own release
orders pending review by the district court”).
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scheduled for February 6, 2023—five days after the initial detention hearing on February 1), there
is a “reasonable safeguard against” Defendant’s “unduly extended detention” pending review of
the release order. Petersen, 557 F. Supp. 2d at 1129 (review hearing conducted five days after
release order issued and stayed).

Accordingly, it is hereby

ORDERED that the Defendant’s Motion to Vacate is DENIED.

ENTERED this 3rd day of February, 2023.

LV

‘ae aad Lindsey Robinson Vaala
Alexandria, Virginia United States Magistrate Judge
